AO 91 (Rev sg;)as<§~mL;ILQEM-OOM? Document 1 Filed on 02/27/19 in TXSD Page 1 of 2

 

United States District Court'

 

 

SOUTHERN DISTRICT OF TEX.AS
MCALLEN DIVISION
UNITED STATES OF AMERICA `
V_ WY.H,QMMM,_!H chlquAL colleLAlNT
Bianca Contreras-Rodriguez PRINclPAL mth nl.lz§§“§€ wis film Case Number:

usc Yoa: 1991 FEB 2 7 ZQH M-19-U-F]j

. z _ ,Gieriz et@ei.art

(Name and Address ofDefendant)

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

 

knowledge and belief. On or about Februarv 26. 2019 in Hidang COunty, in
the Southern District of Texas defendants(s) did,

(Track Stalutorjy Language of Ojj”ense)

knowing or in reckless disregard of the fact that Jacinto Rojas- Ca|y_eca, a national of Mexico, and Amado De
Jesus Ramirez-De Paz, a national of Guatema|a, along with one (1) other undocumented alien, for a total of
three (3), who had entered the United States' 1n violation of law, did knowingly transport, or move, or attempted
to transport said aliens in furtherance of such violation of law within the United States; that is, from a location
near Hidalgo, Texas to the point of arrest near Hidalgo, Texas,

in violation of Title 8 United States Code, Section(s) 1324(a)(1)(A)(ii) FELONY
I further state that I am a(n) U.S. Senior Border Patrol Agent and that this complaint is based on the
following facts:

On February 26, 2019, Hidalgo Police Department requested assistance from Border Patrol Agents to
determine alienage of several subjects that were stopped near 23rd Street and Guerra Road' m Hidalgo,

Texas.

 

SEE ATTACHED
Continued on the attached sheet and made a part of this complaint: |:|Yes:| No
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Si lgh@:*éi/ e of Comp|ainant
2 7 /< ” `
Ju|io C. Per'\a Senior Patro| Agent

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Sworn to before me and subscribed 1n my presence, Printed Name of Complainant
February 27, 2019 » at McAl|en, Texas
Date City and State

J Scott Hacker , U. S. Magistra'te Judge /

Name and Title of Judicia| Officer ' fe of udicial Officer

CHS@ 7§19'm119N1TEBOSWES 'UPSTR?€??&UUR‘FD Page 2 Oi 2
souTHERN DlsTRlcT oF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CRllVllNAL COMPLAINT:

/ M-19- -M
RE: Bianca Contreras-Rodriguez

CONT|NUAT|ON:

Agents responded and were advised by a Hidalgo“Police Department Ofticer that a trach
stop was conducted on a Ford Explorer for disregarding a stop sign. Upon questioning the
passengers, the Ofticer suspected that a human smuggling attempt was being taken place.

Agents approached the driver and identified her as Bianca Contreras-Rodriguez, who
claimed to be a United States Citizen. An immigration inspection was conducted on three
passengers sitting on the back seat and they were determined to be illegally present in the
United States.

All subjects were placed under arrest and transported to the McAllen Border Patrol Station to
be processed accordingly.

PRINCIPAL STATEMENT
Bianca Contreras-Rodriguez Was read her Miranda Rights. She understood and agreed to
provide a sworn statement

Contreras stated she was hired to pick up three illegal aliens and was to receive $180 USD'
per person. Contreras claimed to have smuggled multiple times before in the same area and
that she successfully smuggled three aliens just a day ago. Contreras admitted to scouting for
law enforcement on one occasion for a narcotic smuggling attempt.

MATERIAL WITNESSES` STATEMENTS:
Jacinto Roj as-Calyeca and Amado de Jesus Ramirez-De Paz were read their Miranda Rights.
Both understood and agreed to provide a sworn statement

Roj as, a citizen of Mexico, stated he paid a total of $8,500 USD for the smuggling
arrangements Rojas claimed he crossed the river along with two other subjects and they
were eventually picked up by a four door vehicle. Rojas identified Contreras, through a
photo lineup, as the driver of the vehicle.

Ramirez, a citizen of Guatemala, stated his cousin made the smuggling arrangements and
paid $11,000 USD. After crossing `the river, Ramirez stated he crossed a wall and eventually
made it out from the brush. Ramirez claimed he was eventually picked up by a vehicle driven
by a female subj ect. Ramirez identified Contreras, through a photo lineup, as the driver of
the vehicle

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